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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:13CR73
       vs.                                 )
                                           )                      ORDER
JESSICA KRAFT,                             )
                                           )
                     Defendant.            )



        This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME
TO FILE MOTIONS BEYOND DEADLINE FOR MOTIONS [51]. For good cause shown, I
find that the motion should be granted. The defendant shall be given an approximate 14-
day extension. Pretrial Motions shall be filed by May 7, 2013.

       IT IS ORDERED:

       1.   Defendant's MOTION FOR EXTENSION OF TIME TO FILE MOTIONS
BEYOND DEADLINE FOR MOTIONS [51] is granted. Pretrial motions shall be filed on or
before May 7, 2013.

       2.      The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between April 23, 2013 and May
7, 2013, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 23rd day of April, 2013.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
